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LORETTA ¢. WHYTE
UNITED STATES DISTRICT COURT CLERK Woo

EASTERN DISTRICT OF LOUISIANA

CONNIE ABADIE, ET AL. CIVIL ACTION 06-5164

VERSUS SECTION “K”

AEGIS SECURITY INSURANCE DISTRICT JUDGE

COMPANY, ET AL. STANWOOD R. DUVAL, JR.
MAGISTRATE JUDGE

JOSEPH C. WILKINSON, JR.

ORDER

CONSIDERING THE FOREGOING,

IT IS HEREBY ORDERED that the Ex Parte Motion for Extension of Time filed by and
on behalf of American Empire Surplus Lines Insurance Company (“AESLIC”) be, and is hereby
GRANTED.

IT IS FURTHER ORDERED that AESLIC be, and is hereby granted an additional twenty
(20) days, or through and until November 6, 2006 for the purpose of filing responsive pleadings

to plaintiffs’ Complaint.

New Orleans, Louisiana, this day of LA (4 , 2006.

UNITED LY BIZTRICT JUDGE

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